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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                   Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )                                   Case No. 19-34054 (SGJ)
              Reorganized Debtor.       )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                   Plaintiff,           )
vs.                                     )                                   Adv. Pro. No. 21-03006 (SGJ)
                                        )
HIGHLAND CAPITAL MANAGEMENT SERVICES, )
INC., JAMES DONDERO, NANCY DONDERO, AND )
THE DUGABOY INVESTMENT TRUST            )
                                        )
                   Defendants.          )
                                        )

                                      CERTIFICATE OF SERVICE

     I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned case.

        On October 8, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Plaintiff's Amended Notice of Rule 30(b)(6) Deposition to Highland Capital
         Management Services, Inc. [Docket No. 87]


Dated: October 13, 2021
                                                           /s/ Elliser Silla
                                                           Elliser Silla
                                                           KCC
                                                           222 N Pacific Coast Highway, Suite 300
                                                           El Segundo, CA 90245
1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                     Exhibit A
                                                               Adversary Service List
                                                              Served via Electronic Mail


             Description                       CreditorName                     CreditorNoticeName                               Email
                                                                                                                john@bondsellis.com;
                                                                                                                john.wilson@bondsellis.com;
                                                                        John Y. Bonds, III, John T. Wilson, IV, bryan.assink@bondsellis.com;
                                        Bonds Ellis Eppich Schafer      Bryan C. Assink, Clay M. Taylor,        clay.taylor@bondsellis.com;
Counsel for James Dondero               Jones LLP                       William R. Howell, Jr.                  william.howell@bondsellis.com
Financial Advisor to Official Committee                                                                         Earnestiena.Cheng@fticonsulting.com;
of Unsecured Creditors                  FTI Consulting                  Earnestiena Cheng, Daniel H O'Brien Daniel.H.O'Brien@fticonsulting.com
Counsel for Nancy Dondero               Greenberg Traurig, LLP          Daniel P. Elms                          elmsd@gtlaw.com
                                                                        Melissa S. Hayward, Zachery Z.          MHayward@HaywardFirm.com;
Counsel for the Debtor                 Hayward & Associates PLLC        Annable                                 ZAnnable@HaywardFirm.com
                                                                                                                ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment                                      Douglas S. Draper, Leslie A. Collins, lcollins@hellerdraper.com;
Trust and Get Good Trust               Heller, Draper & Horn, L.L.C.    Greta M. Brouphy                        gbrouphy@hellerdraper.com
Counsel for UBS Securities LLC and                                                                              andrew.clubok@lw.com;
UBS AG London Branch                   Latham & Watkins LLP             Andrew Clubok, Sarah Tomkowiak          sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and                                                                              asif.attarwala@lw.com;
UBS AG London Branch                   Latham & Watkins LLP             Asif Attarwala, Kathryn K. George       Kathryn.George@lw.com
Counsel for UBS Securities LLC and                                                                              jeff.bjork@lw.com;
UBS AG London Branch                   Latham & Watkins LLP             Jeffrey E. Bjork, Kimberly A. Posin     kim.posin@lw.com
Counsel for UBS Securities LLC and                                                                              Zachary.Proulx@lw.com;
UBS AG London Branch                   Latham & Watkins LLP             Zachary F. Proulx, Jamie Wine           Jamie.Wine@lw.com
                                                                                                                mclemente@sidley.com;
                                                                        Matthew Clemente, Alyssa Russell,       alyssa.russell@sidley.com;
Counsel for Official Committee of                                       Elliot A. Bromagen, Dennis M.           ebromagen@sidley.com;
Unsecured Creditors                    Sidley Austin LLP                Twomey                                  dtwomey@sidley.com
                                                                                                                preid@sidley.com;
                                                                        Penny P. Reid, Paige Holden             pmontgomery@sidley.com;
Counsel for Official Committee of                                       Montgomery, Juliana Hoffman,            jhoffman@sidley.com;
Unsecured Creditors                 Sidley Austin LLP                   Chandler M. Rognes                      crognes@sidley.com
Counsel for Highland Capital
Management Services, Inc. and Nancy                                     Deborah Deitsch-Perez, Michael P.     deborah.deitschperez@stinson.com;
Dondero                             Stinson LLP                         Aigen                                 michael.aigen@stinson.com
                                                                                                              brant.martin@wickphillips.com;
Counsel for Highland Capital           Wick Phillips Gould & Martin,    Brant C. Martin, Jason M. Rudd,       jason.rudd@wickphillips.com;
Management Services, Inc.              LLP                              Lauren K. Drawhorn                    lauren.drawhorn@wickphillips.com




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                             EXHIBIT B
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                                                                              Exhibit B
                                                                        Adversary Service List
                                                                      Served via First Class Mail


            Description                         CreditorName                       CreditorNoticeName                    Address1                City     State    Zip
                                                                           John Y. Bonds, III, John T. Wilson,
                                      Bonds Ellis Eppich Schafer Jones     IV, Bryan C. Assink, Clay M. Taylor,  420 Throckmorton Street,
Counsel for James Dondero             LLP                                  William R. Howell, Jr.                Suite 1000                  Fort Worth   TX      76102
                                                                                                                 2200 Ross Avenue, Suite
Counsel for Nancy Dondero             Greenberg Traurig, LLP               Daniel P. Elms                        5200                        Dallas       TX      75201
Counsel for the Dugaboy Investment                                         Douglas S. Draper, Leslie A. Collins, 650 Poydras Street, Suite
Trust and Get Good Trust              Heller, Draper & Horn, L.L.C.        Greta M. Brouphy                      2500                        New Orleans LA       70130
Counsel for UBS Securities LLC and                                                                               555 Eleventh Street, NW,
UBS AG London Branch                  Latham & Watkins LLP                 Andrew Clubok, Sarah Tomkowiak        Suite 1000                  Washington   DC      20004
Counsel for UBS Securities LLC and                                                                               330 North Wabash
UBS AG London Branch                  Latham & Watkins LLP                 Asif Attarwala, Kathryn K. George     Avenue, Ste. 2800           Chicago      IL      60611
Counsel for UBS Securities LLC and                                                                               355 S. Grand Ave., Ste.
UBS AG London Branch                  Latham & Watkins LLP                 Jeffrey E. Bjork, Kimberly A. Posin   100                         Los Angeles CA       90071
Counsel for UBS Securities LLC and                                                                               1271 Avenue of the
UBS AG London Branch                  Latham & Watkins LLP                 Zachary F. Proulx, Jamie Wine         Americas                    New York     NY      10020
Counsel for Highland Capital
Management Services, Inc. and Nancy                                        Deborah Deitsch-Perez, Michael P.      3102 Oak Lawn Avenue,
Dondero                               Stinson LLP                          Aigen                                  Suite 777                  Dallas       TX      75219
Counsel for Highland Capital                                               Brant C. Martin, Jason M. Rudd,        3131 McKinney Avenue,
Management Services, Inc.             Wick Phillips Gould & Martin, LLP    Lauren K. Drawhorn                     Suite 500                  Dallas       TX      75204




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